     Case 1:10-cv-00570-ESC ECF No. 27 filed 10/11/13 PageID.136 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


JESSIE HARRISON,

               Plaintiff,

v.                                                                 Case No. 1:10-cv-570

STATE OF MICHIGAN, et al.,                                         Hon. Janet T. Neff

            Defendants.
____________________________/


                                            ORDER

       IT IS HEREBY ORDERED that this matter is referred to Magistrate Judge Ellen S.

Carmody solely for the purpose of appointment of counsel and related procedural matters pursuant

to the Pro Bono Plan of the United States District Court for the Western District of Michigan. See

W.D. Mich. Admin. Order Nos. 03-003 and 03-004.

       IT IS SO ORDERED.



Dated: October 11, 2013                              /s/ Janet T. Neff
                                                    JANET T. NEFF
                                                    United States District Judge
